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                                                        [re Docket Item 76]

                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA

      v.                                    Criminal No. 07-153 (JBS)

FREDERICK J. BIRKS and
ROBERT BEURET                                           OPINION

                  Defendants.


APPEARANCES:

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Simandle, District Judge:

I.    INTRODUCTION

      The Court is presented with Defendant Robert Beuret’s

(“Defendant Beuret”) motion to dismiss the Third Superseding

Indictment (“TSI”), which charges Defendant Beuret and Defendant

Frederick Birks (“Defendant Birks”) with conspiracy to defraud

the United States under 18 U.S.C. § 371 [Docket Item 76].1

Defendant Beuret offers two reasons why the Court should dismiss

the TSI: (1) he argues that the TSI is untimely; and (2) he

maintains that even if the TSI is timely, it does not

sufficiently allege venue in the District of New Jersey and must

be dismissed for that reason.          The Court finds, for the reasons

explained below, that the TSI is timely under United States v.

Friedman, 649 F.2d 199 (1981), because the statute of limitations

was tolled with the filing of the Second Superseding Indictment

(“SSI”) in this case, and that venue is sufficiently alleged.

II.   ALLEGATIONS

      Given the procedural posture of this case, no evidence has

been presented and the only facts are those alleged in the SSI

and the TSI.    Both allege that for much of the year 2002,

Defendants Beuret and Birks were engaged in a conspiracy to

defraud the United States by (1) willfully employing


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       Defendant Birks has not joined in this motion. Cornelia
Eldridge, originally also a co-defendant, has since passed away
and is included in the TSI only as a co-conspirator.

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“manipulative and deceptive devices and contrivances in

connection with the purchase and sale of securities,” and (2)

knowingly and wilfully making untrue statements of material fact

or omitting necessary facts when submitting a registration

statement, Form S-8, filed under the Securities Act.              (SSI ¶ 2;

TSI ¶ 2.)    An object of the conspiracy was “to issue free-trading

eContent stock to John P. Serubo, pursuant to a materially false

and fictitious Form S-8 registration statement, in order to

compensate John P. Serubo and others who worked with him,

including [Defendant Birks] and co-conspirators Anthony Castore

and P.P., for illegal stock promotion activities regarding

eContent’s publically-traded stock.”2         (SSI ¶ 3; TSI ¶ 3.)

     Though similar in many ways, the allegations in the TSI are

not identical to the allegations in the SSI.            First, in the SSI

the last alleged overt act in furtherance of this conspiracy

occurred on September 20, 2002, while in the TSI the last alleged

overt act was on November 6, 2002.         (SSI ¶ 26; TSI ¶ 30.)

Second, in the SSI John P. Serubo received the aforementioned

free-trading eContent stock on June 3, 2002, and the fraudulent

Form S-8 authorizing the issuance of those stock was executed on

June 7, 2002.    (SSI ¶¶ 15, 20.)      The TSI, however, alleges that

the Form S-8 was executed on June 26, 2002, and that Serubo


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       The only difference between the SSI and the TSI in this
particular paragraph is that the TSI names John P. Serubo, while
the SSI refers to him as “CW-1.”

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received the stock on July 1, 2002.            (TSI ¶¶ 25-26.)     Third, the

TSI includes four new overt acts, two of which were allegedly

perpetrated by Defendant Beuret.            (TSI ¶¶ 12, 13, 29, 30.)

Fourth, the TSI explains how the Form S-8 was materially false.

(TSI ¶ 15.)

III. PROCEDURAL HISTORY

     A.    Motion to Dismiss Second Superseding Indictment

     As is already evident, there have been four indictments

issued in this case, but Defendant Beuret was not joined as a

defendant until the SSI.       On September 18, 2007, the grand jury

returned the SSI.        Defendant Beuret subsequently moved to dismiss

the SSI for lack of venue, joined by Defendant Birks and the late

Cornelia Eldridge.       Defendants argued, in part, that because two

of three alleged overt acts that occurred in New Jersey happened

after John Serubo received the free-trading eContent stock (what

Defendants characterized as the sole object of the conspiracy),

they could not be in furtherance of the conspiracy and thus,

Defendants urged, were not sufficient to allege proper venue in

New Jersey.    In response, the Government objected to Defendants

narrow reading of purpose of the conspiracy as described in the

SSI, but also sought to correct an error in that indictment,

stating that evidence showed the eContent stock was issued,

instead, on or about June 26, 2002 and that John Serubo received

the stock on July 1, 2002.        Thus, the Government asked for an


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opportunity to “amend” the SSI to correct this error.

     The Court, in response to these various requests, declined

to rule on Defendants’ motion to dismiss, but also refused to

permit the Government to amend the SSI to correct the error in

dates unless the matter was presented to a grand jury.              United

States v. Birks, No. 07-153, 2008 WL 4104570 (D.N.J. Sept. 2,

2008).    The Court found that the date on which Mr. Serubo

received the eContent stock was too important to the allegations

of conspiracy to permit the Government to merely amend the SSI to

include these new dates.      Id. at *4-6.      The Court nevertheless

gave the Government an opportunity to obtain a third superseding

indictment to the correct the problem.          Id. at *6.     Moreover, the

Court declined to rule on Defendants’ motion to dismiss while

there was confusion as to the date an object of the conspiracy

was obtained.    Id.

     B.    Motion to Dismiss Third Superseding Indictment

     On November 20, 2008, the grand jury returned the TSI.

Defendant Beuret, this time without his co-defendant, moved to

dismiss the TSI as untimely and for failure to sufficiently

allege venue.    Defendant Beuret argues that the TSI, undisputedly

untimely if taken alone, does not benefit from tolling due to the

SSI because (1) the SSI was not validly pending at the time the

TSI was issued, and (2) the TSI impermissibly broadens the

charges in the SSI and so cannot relate back to that earlier


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indictment.    Even if the TSI is timely, Defendant Beuret argues

that it also fails to allege venue and should be dismissed on

that ground.    On January 29, 2009, the Court heard oral argument

on the matter and reserved decision.

IV.   DISCUSSION

      Defendant Beuret challenges the TSI on its face.              Thus, the

Court proceeds with certain basic principles in mind.               It is well

established that “[a]n indictment returned by a legally

constituted and unbiased grand jury . . . if valid on its face,

is enough to call for trial of the charge on the merits.”

Costello v. United States, 350 U.S. 359, 363 (1956); United

States v. Fisher, 871 F.2d 444, 451 (3d Cir. 1989).               An

“‘indictment is sufficient if it, first, contains the elements of

the offense charged and fairly informs the defendant of the

charge against which he must defend, and, second, enables him to

plead an acquittal or conviction in bar of future prosecutions

for the same offense.’”      United States v. Destio, 153 Fed. App'x.

888, 892 (3d Cir. 2007) (quoting Hamling v. United States, 418

U.S. 87, 117 (1974)).      In considering a motion to dismiss an

indictment, the Court “accepts as true the factual allegations

set forth in the indictment.”          United States v. Besmajian, 910

F.2d 1153, 1154 (3d Cir. 1990).

      A.   Timeliness of Third Superseding Indictment

      There is no dispute that the TSI, without the benefit of


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tolling, is untimely.      The statute of limits for the one count of

conspiracy in violation of 18 U.S.C. § 371 is five years.               18

U.S.C. § 3232.     The TSI was handed down on November 20, 2008,

more than five years after the last alleged overt act on November

6, 2002.   Nevertheless, under Friedman, the statute of

limitations may be tolled by the filing of a preceding

indictment.    649 F.2d at 203 (citing United States v. Grady, 544

F.2d 598 (2d Cir. 1976)).      The Third Circuit has adopted the

doctrine that “a valid indictment tolls the statute of

limitations and that return of a superseding indictment prior to

the dismissal of the original indictment does not violate the

statute of limitations if the superseding indictment does not

substantially alter the charge.”           Friedman, 649 F.2d at 203;

United States v. Oliva, 46 F.3d 320, 324 (3d Cir. 1995).               The

Friedman/Grady rule consequently consists of two necessary

elements: (1) the preceding indictment relied upon must have been

validly pending at the time the superseding indictment was

issued; and (2) the superceding indictment cannot materially

broaden or substantially amend the charges.             See Friedman, 649

F.2d at 203-04; Grady, 544 F.2d at 601-02; United States v.

Rutkoske, 506 F.3d 170, 175 (2d Cir. 2007).             Defendant Beuret

argues that neither element is present here.             The Court will

address each in turn.




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           1.    Was the Second Superceding Indictment Validly
                 Pending?

     Defendant Beuret argues that the SSI was not validly pending

because it did not adequately allege venue and because the SSI

was also untimely.       The overt acts alleged to establish venue in

New Jersey and to bring the charge within the five-year statute

of limitations, according to Defendant Beuret, did not further

the alleged object of the conspiracy.          The Government first

responds that any potential problems with venue or timeliness

have no impact on whether the SSI was “validly pending” for

purposes of the Friedman/Grady analysis.           The Government further

insists that Defendant Beuret’s arguments rely on an unreasonably

narrow interpretation of the SSI and that the Government is not

required to allege venue and timeliness with the level of detail

that Defendant Beuret demands.         This particular area of law is

undeveloped in this circuit, and there is no appeals court

opinion, published or unpublished, interpreting Friedman, nor is

there a district court opinion, published or unpublished,

considering the meaning of “validly pending.”3            Nevertheless, it


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       Amongst the other circuits, there is some disagreement as
to the meaning of “validly pending.” Compare United States v.
Crysopt Corp., 781 F. Supp. 375, 377-78 (D. Md. 1991) (preceding
indictment not validly pending because it failed to sufficiently
allege a crime) and United States v. Gillespie, 666 F. Supp.
1137, 1140 (N.D. Ill. 1987) (preceding indictment not validly
pending because it was issued by grand jury after their sitting
expired), with United States v. Smith, 197 F.3d 225, 228-29 (6th
Cir. 1999) (holding that “‘[v]alidly pending’ under the Grady
rule is unrelated to the issue of whether an indictment is

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is unnecessary for the Court to resolve this question, for the

Court finds that under any meaning of “validly pending,” the SSI

was validly pending when the TSI was handed down, as now

discussed.

     In order to address both parties’ arguments it is necessary

to interpret the SSI to determine what object or objects of the

conspiracy are alleged.      To do so, the Court finds guidance from

the Third Circuit in United States v. Knox Coal Co., 347 F.2d 33

(1965).   In Knox Coal, the defendant argued that the conspiracy

count did not “fully and clearly set forth the purpose of the

conspiracy” such that the indictment was not sufficient.               347

F.2d at 38.    To determine the object of the conspiracy, the

appeals court looked to both the charging paragraph and all the

listed means and method by which the conspiracy had been

accomplished, rejecting the defendant’s argument that only the

initial charging paragraph could be considered in determining the

purpose of the conspiracy.       Id. at 39.



defective or insufficient”). Because the Court finds that, under
any interpretation of “validly pending,” the SSI was valid, the
Court will not attempt to define the phrase. It does appear,
however, that the term “valid” should not be read out of the
holdings in Friedman and Grady, so that the original indictment
must possess certain hallmarks of validity. See Crysopt Corp.,
781 F. Supp. at 377-78 (indictment that fails to allege crime
invalid); Gillespie, 666 F. Supp. at 1140 (indictment issued by
powerless grand jury is invalid); see also Rutkoske, 506 F.3d at
175 (suggesting that facially untimely indictment might be
invalid). What those hallmarks may be, however, is best left for
another day.

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      Defendant Beuret argues that Knox Coal is inapplicable to

the present case because it arose in response to a challenge to

the sufficiency of the indictment on grounds that the alleged

purpose was ambiguous, whereas here, according to Defendant

Beuret, the Court is only asked to interpret “the unambiguous

language that is the charged object of the agreement.”               According

to Defendant Beuret, it is clear that the sole object of the

conspiracy was to issue free-trading eContent stock to John

Serubo, and thus the Court need not look elsewhere in the SSI to

find the purposes of the conspiracy.           Contrary to this

characterization, it is not unambiguous that this was the sole

alleged object of the conspiracy.           The paragraph to which

Defendant Beuret refers, which appears under the heading “Object

of the Conspiracy,” reads:

         It was an object of the conspiracy for [Defendants
         and co-conspirators] to issue free-trading eContent
         stock to [John Serubo], pursuant to a materially
         false   and   fictitious  Form   S-8   registration
         statement, in order to compensate [Serubo] and
         others who worked with him . . . for illegal stock
         promotion activities regarding eContent’s publicly-
         traded stock.

(SSI ¶ 3.)    This paragraph does not establish that the only

object of the conspiracy to issue stock to Serubo, but merely

that this payment was an object.            Though not framed as a question

regarding the sufficiency of the indictment, this Court faces the

same question as the one posed in Knox Coal -- how to determine

the object or objects of a conspiracy where there is no single

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paragraph that makes this clear.

      Thus, under Knox Coal, the Court finds that the charging

paragraph, the paragraph laying out an object of the conspiracy,

and the means and methods, establish (and thereby provided

sufficient notice to Defendant Beuret) that the objects of the

charged conspiracy were to manipulate the market for eContent

stock and to reward Serubo and others for their assistance in

manipulating that market.       See Knox Coal, 347 F.2d at 38-39;

United States v. Borland, 309 F. Supp. 280, 288 (D. Del. 1970)

(finding Knox Coal to be “a proper reminder to avoid a technical

and narrow reading of an indictment”); see also United States v.

Werme, 939 F.2d 108, 111 (3d Cir. 1991) (“The charging portion of

a conspiracy count includes all paragraphs within that count

except for allegations under the overt acts heading, unless those

allegations are expressly incorporated.”) (citing Knox Coal, 347

F.2d at 38).     Most significantly, the charging paragraph alleges

conspiracy to commit two separate offenses: (1) willfully

employing “manipulative and deceptive devices and contrivances in

connection with the purchase and sale of securities” in violation

of Sections 78j(b) and 78ff(a) of Title 15 of the United States

Code; and (2) knowingly and wilfully making untrue statements of

material fact or omitting necessary facts when submitting the

Form S-8, in violation of Section 77x of the Title 15 of the

United States Code.      (SSI ¶ 2.)     The means and methods similarly


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illustrate a conspiracy with the purpose of manipulating the

market for eContent stock to artificially inflate the price, (SSI

¶¶ 5, 6, 10),     and conveying some of that stock to Serubo, at its

inflated value, to reward him and others for their efforts at

market manipulation, (SSI ¶¶ 7-9).          In fact, if the sole purpose

were, as Defendant Beuret argues, to convey free-trading eContent

stock to John Serubo, this would render paragraph 5 (outlining

Serubo’s market manipulation), paragraph 6 (outlining Defendant

Birks’ market manipulation), and paragraph 10 (outlining the

deceptive sale of eContent stock to Camelot customers), of the

SSI means and methods, along with half of the charging paragraph,

irrelevant.

      With this broader purpose in mind, the Court turns to

Defendant Beuret’s position that the SSI did not adequately

allege venue.4     For the purpose of a conspiracy charge, venue is

proper in any district in which an overt act in furtherance of a

conspiracy occurred.      18 U.S.C. § 3237(a)5; United States v.


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       The Court rejects the suggestion that venue need not be
alleged. Though not a substantive element, venue is nevertheless
an element required by the Constitution and must be alleged in an
indictment. See United States v. Perez, 280 F.3d 318, 327-30 (3d
Cir. 2002) (holding that venue is an element that must be
established by preponderance of the evidence); see also United
States v. Sandini, 803 F.2d 123, 127 (3d Cir. 1986) (noting
defendant waives right to challenge venue when defendant fails to
raise timely objection if the indictment reveals the venue defect
on its face).
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          [A]ny offense against the United States begun in

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Perez, 280 F.3d 318, 329 (3d Cir. 2002); United States v. Ochoa,

229 F.3d 631, 636 (7th Cir. 2000) (“[T]he traditional rule is

that a conspiracy charge may be tried in any district in which an

overt act of the conspiracy occurred.”), cited with approval by

Perez, 280 F.3d at 329.       Defendant Beuret argues that the none of

the overt acts in the SSI alleged to have occurred in New Jersey

were in furtherance of issuing eContent stock to Serubo and so

could not establish venue.

      In light of the above discussion regarding the scope of the

conspiracy, Defendant’s argument lacks merit.             The Court observes

that as preamble to the listed overt acts, the SSI states, “In

furtherance of the conspiracy and to effect its unlawful objects,

the following acts were committed in the District of New Jersey

and elsewhere.”     (SSI at 8.)    This allegation alone may have been

sufficient to allege venue in New Jersey.           See United States v.

Mendoza, 108 F.3d 1155, 1156 (9th Cir. 1997) (broad allegation

that crime occurred in Western District of Washington enough to

avoid dismissal for improper venue, despite defendant’s claim

that crime actually occurred in California).            Furthermore, among

the specifically alleged New Jersey overt acts, paragraph 19



         one district and completed in another, or committed
         in more than one district, may be inquired of and
         prosecuted in any district in which such offense
         was begun, continued, or completed.

18 U.S.C. § 3237(a).

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alleges that,

         [o]n or about June 3, 2002, [Defendant Birks] and
         others caused Camelot to purchase approximately
         40,000 shares of eContent stock from a market maker
         (a brokerage company that agreed to provide buy and
         sell prices in eContent stock, thereby ensuring the
         existence of a market for the stock) located in New
         Jersey, such purchases being designed to support
         the artificially high market price of eContent
         stock, on a day when [Serubo] and [AFP Limited,
         L.L.C., a limited liability corporation] were
         selling substantial quantities of thinly-traded
         stock.

(SSI ¶ 19.)     Similarly, paragraph 22 alleges that on or about

June 10, 2002, Ms. Eldridge and others “caused an accounting firm

in New Jersey to execute a consent incorporating certain

financial statements in connection with the Form S-8,” (SSI ¶

22), and paragraph 26 alleges that on or about September 20,

2002, Defendant Birks and others “caused AFP to sell

approximately 29,000 shares of eContent’s publicly traded stock,

using market makers located in New Jersey,” (SSI ¶ 26).               These

acts most certainly furthered the goal of market manipulation.

Defendant Beuret responds that, even if they furthered the

conspiracy, these overt acts cannot support venue in New Jersey

because Defendant Birks’ and Ms. Eldridge’s affirmative acts did

not actually take place in New Jersey.           These specific

allegations of overt acts in New Jersey, read together with the

general allegation that some overt acts did take place in New

Jersey, are sufficient to properly allege venue in the District



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of New Jersey.6     Whether the Government can prove venue at trial

is a question left for the jury.

      Defendant Beuret’s argument that the SSI was not validly



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       In addition “an innocent act by a third party, if caused
by previous act or contact on the part of one of the
conspirators” may constitute an overt act for the purpose of
establishing venue in the district where the act occurred. See
United States v. Johnson, 165 F.2d 42, 45 (3d Cir. 1948), cited
with approval by United States v. Perez, 223 F. App’x 336, 341
n.4 (5th Cir. 2007); Perez, 223 F. App’x at 340-41 (overt act in
district by innocent agent acting at direction of conspirator
sufficient to establish venue in that district) (quoting 4 Wayne
R. LaFave, Jerold H. Israel & Nancy J. King, Criminal Procedure §
16.2(f) (2d ed. 1999)); Winebrenner v. United States, 147 F.2d
322, 325 (8th Cir. 1945) ("If . . . Mellor was induced by
Winebrenner to make a fraudulent bid on work for the Government,
even though Mellor was innocent, the conspiracy was brought
within the jurisdiction of the court in the Western District of
Missouri, where the contracts were carried out.").
     The case relied on by Defendant Beuret, United States v. Ben
Zvi, 242 F.3d 89, 97 (1st Cir. 2001), held on a motion to dismiss
following trial for wire fraud conspiracy that the conspiracy
count charging defendants with “causing” an electronic transfer
of funds on August 15, 1998 from Lloyd’s of London to defendant’s
attorney could not constitute an overt act for purposes of
statute of limitations. The First Circuit observed that the
evidence showed “[t]he wiring of funds by Lloyd's to its New York
counsel on August 15, 1988, though precipitated by earlier
fraudulent acts and omissions of defendant and her
coconspirators, did not involve or otherwise turn on any
identifiable act or omission of the conspirators as of the time
of the wire transfer.” Id. This is not inconsistent with the
above cited cases, which require some affirmative action by co-
conspirators. In this case, the overt acts specifically alleged
to have occurred in New Jersey all charge that on particular
dates the co-conspirators affirmatively caused a particular
result (Camelot’s purchase of stock, an accounting firm’s
execution of a consent, AFP’s sale of stock). (SSI ¶¶ 19, 22,
26.) If at trial the Government does not establish that the co-
conspirators did, in fact, cause these results, then Defendants
are free to move again to dismiss for lack of venue. At this
stage, however, the Court is bound to accept the factual
allegations of the indictments on their face.

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pending because it was time-barred similarly fails, given the

scope of the charged conspiracy.            “For a conspiracy indictment to

fall within the statute of limitations, it is ‘incumbent on the

Government to prove that at least one overt act in furtherance of

the conspiracy was performed’ within five years of the date the

Indictment was returned.”       United States v. Bornman, --- F.3d ---

, 2009 WL 567072, at *2 (3d Cir. Mar. 6, 2009) (quoting Grunewald

v. United States, 353 U.S. 391, 396 (1957)).            The parties here

agree that, taking into consideration two tolling agreements

between Defendant Beuret and the Government, the bar date for the

SSI is June 20, 2002.       All three alleged overt acts dated on or

after June 20, 2002 were in furtherance of the conspiracy’s

purposes of market manipulation or compensating Serubo with

eContent stock: “On or about June 20, 2002, defendant Cornelia

Eldridge and co-conspirators William Campbell and Gary Goodell

caused eContent to file with the SEC the materially false and

fictitious Form S-8 . . .,” (SSI ¶ 24)7; “On or about August 19,

2002, [Serubo] transferred 35,000 shares of free-trading eContent

stock from [Serubo’s] account at Camelot, to AFP’s account at

Camelot,” (SSI ¶ 25); and “On or about September 20, 2002,



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       To the extent Defendant Beuret argues that Form S-8 was
not actually filed on June 20, 2002, this argument is both
irrelevant, in light of the objects of the conspiracy, and
meritless, because the Court is obligated to take the alleged
facts as true in a motion to dismiss, Besmajian, 910 F.2d at
1154.

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[Defendant Birks], and co-conspirators Anthony Castore and P.P.,

caused AFP to sell approximately 29,000 shares of eContent’s

publicly traded stock, using market makers located in New

Jersey,” (SSI ¶ 26).      Consequently, the SSI (at least on its

face) alleged overt acts in furtherance of the conspiracy’s

purposes such that the indictment was not time-barred.

      There being no defect in the SSI with regards to venue or

statute of limitations, the Court finds that the SSI was “validly

pending” for the purposes of the Friedman/Grady analysis.

            2.    Did the Third Superseding Indictment Materially
                  Broaden or Substantially Amend the Charges in the
                  Second Superseding Indictment?

      Defendant Beuret’s second attack on the timeliness of the

TSI and the application of tolling under Friedman/Grady targets

the changes the TSI made to the SSI.          Defendant Beuret argues

that the TSI impermissibly broadened and materially amended the

charges by (1) changing the date Serubo received the eContent

stock, (2) alleging that Form S-8 violated SEC regulations, (3)

expanding the duration of the conspiracy, and (4)expanding

Defendant Beuret’s role in the conspiracy, such that the TSI

cannot relate back to the SSI.         The Government insists that the

TSI changes and expands on the details of the conspiracy outlined

in the SSI, but does not materially alter or substantially amend

the charged conspiracy.       The Court agrees.         The modifications

made in the TSI do not alter or change the charged conspiracy in


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the SSI such that Defendant Beuret was not on notice of the

charges he would face under the TSI, and thus the TSI benefits

from tolling by the SSI.

      The second prong of the Friedman/Grady test turns on the

concept of notice.         The Grady court observed that tolling the

statute of limitations while there is a validly pending

indictment, so long as any superseding indictment does not

broaden the charges in the initial indictment, “is a sensible

application of the policies underlying statute of limitations.”

554 F.2d at 601.         The court noted that, “defendants are put on

timely notice, because of the pendency of an indictment, filed

within the statutory time frame, that they will be called to

account for their activities and should prepare a defense.”                  Id.

Thus, in considering whether a superseding indictment

impermissibly broadens the charges of the initial indictment, the

Court will look to see if the initial indictment gave the

defendant sufficient notice of the charges he must defend against

in the superseding indictment.           United States v. Salmonese, 352

F.3d 608, 622 (2d Cir. 2003); United States v. Pearson, 340 F.3d

459, 465 (7th Cir. 2003), reversed on other grounds by Hawkins v.

United States, 543 U.S. 1097 (2005); United States v. Lash, 937

F.2d 1077, 1081-82 (6th Cir. 1991).            To make this determination,

the Court will consider “whether the additional pleadings allege

violations of a different statute, contain different elements,


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rely on different evidence, or expose the defendant to a

potentially greater sentence.”         Salmonese, 352 F.3d at 622

(citing United States v. Ben Zvi, 168 F.3d 49, 55 (2d Cir.

1999)).

      To begin with, for the ease of analysis and review, and

because Friedman requires a side-by-side comparison of the

initial and superseding indictments, the Court will lay out the

two indictments below, showing the changes made by the TSI.                 The

relevant changes are almost exclusively under “overt acts”

(except for the charging paragraph, which expanded the length of

the conspiracy from February, 2002 to September, 2002 in the SSI

to February, 2002 to November, 2002 in the TSI) and only those

portions of the indictments are included.8              The allegations in

[brackets] were included in the SSI and omitted in the TSI.                 The

underlined allegations were added to the TSI and were not

included in the SSI.

                              Overt Acts
           In furtherance of the conspiracy and to effect its
      unlawful objects, the following overt acts were committed
      in the District of New Jersey and elsewhere:
      11. On or about February 18, 2002, co-conspirator John
      P. Serubo9 wrote a check of $50,000, payable to defendant


      8
       The other changes in the TSI, as previously discussed, are
the removal of the late Cornelia Beuret as a co-defendant (and
renaming her a co-conspirator) and replacing “CW-1" with “John P.
Serubo.”
      9
       In an attempt to avoid confusion, though the SSI refers to
Serubo as CW-1, the Court will refer to him by his given name as
done in the TSI, without underlining or bracketing the name.

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      ROBERT BEURET, to be used as a capital investment in
      Camelot.
      12. On various dates between in or about March, 2002,
      and in or about May, 2002, defendant ROBERT BEURET and
      co-conspirator John P. Serubo placed telephone calls to
      a securities broker located in New Jersey, to discuss
      eContent stock.
      13. On or about May 29, 2002, defendant ROBERT BEURET
      sent an e-mail to M.S., a Camelot customer in New Jersey,
      telling M.S. that M.S. should expect eContent stock to
      “get going soon.”
      14. On or about May 29, 2002, defendant FREDERICK J.
      BIRKS and co-conspirators Anthony Castore and P.P. formed
      a Florida limited liability corporation, “AFP Limited,
      L.L.C.” (“AFP”).
      15.   On or about May 31, 2002, [defendant] Cornelia
      Eldridge and John P. Serubo executed a materially false
      and fictitious Consulting Agreement between eContent and
      John P. Serubo. This Consulting Agreement was materially
      false in that it stated that co-conspirator John P.
      Serubo would perform consulting and advisory services for
      eContent regarding the marketing of eContent’s vertically
      integrated e-commerce services, whereas, in truth and in
      fact, co-conspirator John P. Serubo had performed, and
      would continue to perform, stock promotion activities for
      eContent.   In addition, the Consulting Agreement was
      materially false in that it stated that co-conspirator
      John P. Serubo would receive 1.1 million shares of
      eContent stock, registered on Form S-8, as compensation
      for these services, whereas, in truth and in fact, the
      stock was to be issued to co-conspirator John P. Serubo
      to compensate him for his stock promotion activities on
      behalf of eContent.
      16. On or about June 3, 2002, defendant FREDERICK J.
      BIRKS and co-conspirators Anthony Castore and P.P. opened
      a brokerage account at Camelot in the name of AFP.
      [16(a). On or about June 3, 2002, defendant Cornelia
      Eldrige and co-conspirators William Campbell and Gary
      Goodell caused eContent to deposit 1.1 million free-
      trading shares of eContent stock to a brokerage account
      that John P. Serubo held at Camelot.]
      17. On or about June 3, 2002, defendant FREDERICK J.
      BIRKS approved a Camelot trade ticket regarding the sale
      of 100,000 shares of eContent stock from John P. Serubo’s
      account at Camelot, directly to the accounts of other
      customers at Camelot.
      18. On or about June 3, 2002, John P. Serubo transferred
      175,000 shares of eContent stock from John P. Serubo’s

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      brokerage account at Camelot, to AFP’s brokerage account
      at Camelot.
      19. On or about June 3, 2002, defendant FREDERICK J.
      BIRKS approved a Camelot trade ticket regarding the sale
      of 100,000 shares of eContent stock from AFP’s account at
      Camelot, 90,000 of which were sold directly to the
      accounts of other customers at Camelot.
      20. On or about June 3, 2002, defendant FREDERICK J.
      BIRKS and others caused Camelot to purchase approximately
      40,000 shares of eContent stock from a market maker (a
      brokerage company that agreed to provide buy and sell
      prices in eContent stock, thereby ensuring the existence
      of a market for the stock) located in New Jersey, such
      purchases being designed to support the artificially high
      market price of eContent stock, on a day John P. Serubo
      were selling substantial quantities of the thinly traded
      stock.
      21. On or about June 7, 2002, co-conspirators Cornelia
      Eldridge, William Campbell, and Gary Goodell executed a
      materially false and fictitious Form S-8 registration
      statement authorizing the issuance of 1.1 million free-
      trading shares of eContent stock to John P. Serubo.
      22. On or about June 10, 2002, defendant FREDERICK J.
      BIRKS approved a Camelot trade ticket regarding the sale
      of 100,000 shares of eContent stock from John P. Serubo’s
      account at Camelot, directly to the accounts of other
      customers at Camelot.
      23. On or about June 10, 2002, co-conspirators Cornelia
      Eldridge, William Campbell, and Gary Goodell caused an
      accounting firm in New Jersey to execute a consent
      incorporating certain financial statements in connection
      with the Form S-8 registration statement described in
      paragraph 21 above.
      24. On or about June 18, 2002, defendant FREDERICK J.
      BIRKS approved Camelot trade tickets regarding the sale
      of 51,000 shares of eContent stock from AFP’s account at
      Camelot, including sales directly to the accounts of
      other customers at Camelot.
      25. On or about June 20, 2002, defendant ROBERT BEURET
      and co-conspirators Cornelia Eldridge, William Campbell,
      Gary Goodell, and John P. Serubo caused eContent to file
      with the SEC the materially false and fictitious Form S-8
      registration statement referenced in paragraph 21 above.
      In addition to the material falsities in the Consulting
      Agreement attached as an exhibit to the Form S-8
      registration statement, which are set forth in paragraph
      15 above, the Form S-8 registration statement as a whole
      was materially false and misleading in that it failed to

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      state that the stock being registered was issued to co-
      conspirator John P. Serubo in order to compensate him for
      promoting eContent’s stock, a use prohibited by relevant
      SEC regulations.
      25.10 On or about June 26, 2002, defendant ROBERT BEURET
      and co-conspirators Cornelia Eldridge, William Campbell,
      Gary Goodell, and John P. Serubo caused eContent’s stock
      transfer agent to issue 1.1 million shares of free-
      trading eContent stock to John P. Serubo, pursuant to the
      materially false and fictitious Form S-8 registration
      statement described in paragraph 25 above.
      26. On or about July 1, 2002, John P. Serubo received
      1.1 million shares of free-trading eContent stock into
      his brokerage account at Camelot.
      27.    On or about August 19, 2002, John P. Serubo
      transferred 35,000 shares of free-trading eContent stock
      from John P. Serubo’s account at Camelot, to AFP’s
      account at Camelot.
      28. On or about September 20, 2002, defendant FREDERICK
      J. BIRKS, and co-conspirators Anthony Castore and P.P.,
      caused AFP to sell approximately 29,000 shares of
      eContent’s publicly traded stock, using market makers
      located in New Jersey.
      29. On or about November 5, 2002, co-conspirator John P.
      Serubo sold approximately 295,100 shares of eContent
      stock.
      30. On or about November 6, 2002, co-conspirator John P.
      Serubo sold approximately 81,325 shares of eContent
      stock.

      All in violation of Title 18, United States Code,
      Section 371.

      As previously outlined, Defendant Beuret highlights four

areas of change from the SSI to the TSI that, he suggests,

impermissibly broadened the charges against him.             First,

Defendant Beuret argues that by changing the date on which Serubo

allegedly received the eContent stock the TSI “expanded the

scope” of the conspiracy.       The Court rejects this argument.



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           The TSI, incorrectly, has two paragraphs numbered 25.

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Certainly, the date that Serubo was paid for his alleged illegal

conduct is significant, but as this Court previously found,

changing the date when this object was accomplished does not

change an essential element of the crime.           Birks, 2008 WL

4104570, at *6.     To the extent the new date has any impact on the

Government’s case against both defendants, it merely weakens the

temporal connection between the alleged market manipulation on

June 3, 2002, and the supposed compensation that Serubo received.

Though it now may be more difficult for the Government to prove

that Serubo was being compensated for market manipulation when he

received the stock, Defendant Beuret is still faced with the same

charge of conspiracy with the same objects -- the new date does

not expand the conspiracy or alter the substance of the charges

in any way.

      Second, Defendant Beuret suggests that the Government has

presented a “new theory” in the TSI, in that TSI explains how the

Form S-8 was materially false and fictitious, while the SSI

merely states that it was false.            This argument lacks merit, for

these new details explaining the alleged falsity -- that the Form

S-8 was false because it violated SEC regulations -- do not

expand or amend the charges, but simply amplify and further

explain an allegation already made in the SSI.             See Friedman, 649

F.2d at 204 (adding “additional underlying details” does not

impermissibly broaden the charges in initial indictment).


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Defendant Beuret knew he would have to defend against the claim

that he helped file a false and fictitious Form S-8 and the only

difference is that now he knows the Government’s theory regarding

its falsity, which is more narrow than the open-ended allegation

of falsity in the SSI.

      Third, Defendant Beuret notes that the conspiracy alleged in

the TSI (from February, 2002 to November, 2002) is longer than

that alleged in the SSI (from February, 2002 to September, 2002).

In addition, Defendant Beuret points out that the TSI alleges

more conspiratorial activity between February and May than was

included in the SSI.      This few additional months, however, do not

materially amend or broaden the charges of conspiracy.                See

Pearson, 340 F.3d at 465 (superseding indictment did not

impermissibly broaden the charge where it extended the conspiracy

by four years and added three overt acts).              No new conspiracy was

alleged and Defendant Beuret was on notice that he would have to

defend against all efforts to pursue the objectives of that

conspiracy.

      Finally, Defendant Beuret maintains that the TSI

impermissibly broadened the conspiracy charge against him because

it expanded his role in the conspiracy.           He argues that while the

SSI does not allege overt acts indicating he played any role in

market manipulation, the TSI now includes overt acts which

suggest that he was involved in this manipulation.               It is true


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that paragraph 12 (“On various dates between in or about March,

2002, and in or about May, 2002, defendant ROBERT BEURET and co-

conspirator John P. Serubo placed telephone calls to a securities

broker, located in New Jersey, to discuss eContent stock”), and

paragraph 13 (“On or about May 29, 2002, defendant ROBERT BEURET

sent an e-mail to M.S., a Camelot customer in New Jersey, telling

M.S. that M.S. should expect eContent stock to ‘get going soon’”)

in the TSI include information about Defendant Beuret’s alleged

role in the conspiracy to manipulate the market for eContent

stock that was not included in the SSI.           This does not, however,

amount to an additional charge against Beuret such that the SSI

was materially amended.       Once again, the touchstone is notice.

The SSI charged Defendant Beuret in a conspiracy to manipulate

markets and compensate Serubo for his work in manipulating the

markets.    As such, he was on notice that he would have to defend

against charges of market manipulation.           The SSI and the TSI

allege the same conspiracy, with the same objects, in violation

of the same statute, and the TSI merely adds additional detail

regarding the role Defendant Beuret played in that conspiracy.

See United States v. Bryant, 998 F.2d 21, 25 (1st Cir. 1993)

(“When a superseding indictment does no more than specify the

exact mechanics of a defendant's participation in a previously

charged offense, it does not represent a material broadening or

substantial amendment of the original indictment.”)              This does


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not broaden the charge Defendant Beuret already faced.               See Ben

Zvi, 168 F.3d at 55 (new counts in superseding indictment could

not relate back to preceding indictment where they required

defendants to defend against additional charges that alleged

violations of a different statute, contained different elements,

relied on different evidence, and exposed defendants to a

potentially much greater sentence).

      The Court rejects Defendant Beuret’s suggestion that the

TSI, by describing some of his alleged efforts at market

manipulation, now requires him to prepare a new defense not

necessary under the SSI.       The Government was free, proceeding

under the SSI, to offer any relevant and probative evidence of

Defendant Beuret’s manipulation of the eContent market, see

United States v. Adamo, 534 F.2d 31, 38 (3d Cir. 1976) (in

conspiracy prosecution, Government not limited in its proof at

trial to overt acts alleged in the indictment), and thus

Defendant Beuret would have been required to prepare this defense

under either indictment.       The SSI was not required to list such

evidence against Beuret or any other conspirator in an all-

inclusive series of overt acts.         The SSI informed Defendant

Beuret that he would have to account for his conduct in

furtherance of the alleged conspiracy and that same conduct was

ultimately charged in the TSI.         The TSI thus relates back to the

SSI and may be tolled by that validly pending indictment.


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      B.    Venue

      The Court, having found that the TSI is timely, must address

Defendant Beuret’s argument that the TSI does not adequately

allege venue.     The Court rejects this argument for the same

reasons the Court rejected the same argument with regards to the

SSI in Part IV.A.1 of this Opinion.          As previously noted, the

changes in the TSI (underlined in the excerpt provided in Part

IV.A.2) do not alter the nature of the charged conspiracy or its

objects (the language of the charging paragraphs of the two

indictments are virtually identical, as are the means and methods

in both).    Thus, the TSI charges Defendant Beuret with a

conspiracy to (1) manipulate the market for eContent stock and

(2) compensate Serubo for the market manipulation.              With these

objects in mind, Defendant Beuret’s motion to dismiss venue

fails, because the TSI includes the same allegations of venue,

both general (in the preamble to the listed overt acts) and

specific (paragraphs 20, 22 and 28), that were sufficient to

allege venue in the SSI, see Part IV.A.1 supra.11




      11
       The TSI adds two other New Jersey overt acts, charging
Defendant Beuret with calling a securities broker in New Jersey
regarding eContent stock and sending an e-mail to a Camelot
customer in New Jersey urging telling him to “expect eContent
stock to ‘get going soon.’” (TSI ¶¶ 12, 13.) Finally, the TSI,
like the SSI, contained the overall allegation that the overt
acts “were committed in the District of New Jersey and
elsewhere,” as noted above.

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V.    CONCLUSION

      For the foregoing reasons, the Court will deny Defendant

Beuret’s motion to dismiss the Third Superseding Indictment

charging him with conspiracy to defraud the United States,

finding it is not barred by the statute of limitations, nor does

it lack venue.

      The accompanying Order shall be entered.




March 30, 2009                              s/ Jerome B. Simandle
Date                                        JEROME B. SIMANDLE
                                            U.S. District Judge




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